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                    EXHIBIT H
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Krieger. Arlene G.
From:                      Krieger, Arlene G.
Sent:                      Friday, ApnJ 04, 2008 1 :33 PM
To:                        She(nitz. Mark
Cc:                        Kruger, Lewis
Subject:                   W. R. Grace - Term Sheet


Date;      April 4, 2008

Mark,
Set forth below are our initial thoughts on changes to the Allowed General Unsecured
Claims treatment description in the Term Sheet.

7. Allowed General Unsecured Claims: ioot of allowed amount plus post-petition interest
as follows; (i) for holders of pre-petition bank credit facilities, post-petition interest
at the rate of 6.09% from the filing date through December 31,2005 and thereafter at
floating prime, in each case compounded quarterly in the manner provided for under such
ban credit facilities; and (ii) for all other unsecured claims, interest at 4. 19%,
compounded annually, or if pursuant to an existing contract, interest at the non-default
contract rate; provided however i any such holder may seek to obtain a higher interest rate
and shall be entitled to such higher tnterest rate if the Court determines such rate is
appropri.ate.




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